
917 So.2d 309 (2005)
Richard Cecil MARTIN, Appellant,
v.
STATE of Florida, Appellee.
No. 1D05-2100.
District Court of Appeal of Florida, First District.
December 22, 2005.
Nancy A. Daniels, Public Defender; P. Douglas Brinkmeyer, Assistant Public Defender, Tallahassee, for Appellant.
Charlie Crist, Attorney General, Tallahassee, for Appellee.
PER CURIAM.
We affirm, but remand in order that a written order memorializing the revocation can be entered. See, e.g., Koch v. State, 888 So.2d 736, 736 (Fla. 1st DCA 2004); Oliver v. State, 819 So.2d 816, 816 (Fla. 1st DCA 2002) (affirming appellant's revocation of probation and imposition of judgment and sentence, but because no order revoking appellant's probation had been entered, remanding for entry of written order consistent with the trial court's oral pronouncement); Walker v. State, 686 So.2d 758, 758-59 (Fla. 1st DCA 1997) (affirming and remanding for the trial court "to enter a written order, consistent with its oral pronouncement, revoking appellant's probation"); Clark v. State, 510 So.2d 1202, 1204 (Fla. 2d DCA 1987) ("While we find no reversible error in the trial court's oral findings, we remand for the entry of a written order conforming to the oral pronouncements.").
Affirmed; remanded with instructions.
ERVIN, DAVIS, and BENTON, JJ., concur.
